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                            LINITED STATES DISTRICT COURT                                4J                  -'i't
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                                DISTRICT OF MINNESOTA
                                   FOURTH DIVISION                                             \


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CARMON LANG,                                CASE FILE 13 CV                                        _-.:,
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        Plaintiff,                                 COMPLAINT                             il.n
vs.                                                JURY DEMANDED

CITY OF MINNEAPOLIS, MINNESOTA,
a government entity and political subdivision of the state of Minnesota,

and

MINNEAPOLIS POLICE OFFICERS "l - 10", Badge numbers
In their respective individual capacities acting
Under color of law as Minneapolis Police Officers,


        Defendants.
                                      INTRODUCTION

        Carmon Lang, an African-American adult domiciliary of Minneapolis, Hennepin

County, Minnesota, sues the City        of Minneapolis and yet-to-be-identified    individual

Minneapolis police officers, for their joint and several actions under color of law, for

unreasonable seizure and infliction of excessive, unreasonable force against her person on

6   - 7 November     2013 in Minneapolis in a manner showing gender and racial bias against

her. The officers seized her and humiliated her by coercing her to remove partially her

own brassiere to show she was not in possession of unlawful controlled substances, for

which the officers had neither a search warrant nor articulable reasonable suspicion when

they seized Ms. Lang as a passenger in an automobile.
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                                                                       No\/   - 5 2013
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       The officers' violated her clearly established, federally protected rights under the

Fourth and Fourteenth Amendments to the United States Constitution. for which 42

U.S.C.   $   1983 provides remedy,    to be free from unreasonable seizure, infliction of
excessive, unreasonable force, and denial    of equal protection of the law on account of

gender or race.

       The officers committed common law false arrest, false imprisonment,                 and

common law battery upon Ms. Lang. The officers, acting in the course and scope of their

employment as police officers, expose the City of Minneapolis to liability by respondeat

superior for these common law torts.

       The officers violated Ms. Lang's right to be free from gender and                  race

discrimination as   a   recipient   of public service,   specifically, interaction with law

enforcement officers. The officers, acting in the course and scope of their employment as

police officers, expose the City of Minneapolis to liability by respondeat superior for

violation of the Minnesota Human Rights Act prohibition against gender and race

discrimination in public services under Minn. Stat. g 363A.12.

       In the midst of her seizure, Ms. Lang demanded the seizing officers' names and

badge numbers. The officers refused her requests, and threatened her with arrest,

imprisonment, and prosecution for demanding this information. Although the officers

confined Ms. Lang against her   will for one hour, the incident   at the heart of this lawsuit

resulted in no summons, citation, criminal complaint, or criminal prosecution of any kind

against Ms.   Lang. In so confining and humiliating Ms. Lang, the individual          officers
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violated Ms. Lang's clearly established right        of freedom of   speech   in her peaceful
challenge to police authority.

       Ms. Lang, through her attorneys, has made multiple requests for access upon the

City of Minneapolis to public records, including police reports concerning her that would

identi$r the individual officers by name and badge numbers, relating to the incident in

North Minneapolis on 6      * 7 November 2012. Ms. Lang made her first request in
February 2013. To date, the City of Minneapolis has refused to produce the requested

records.

       The City claims through counsel that the City is denying access on the grounds        of
an active criminal investigation. No prosecution against Ms. Lang, however, has ever

taken place for the incident on 6      -   7 November 2012. The City does not explain the

manner by which Ms. Lang's request for access to data relating to her
                                                                         - and her alone --
jeopardizes an active investigation of another individual.

       The City's refusals have frustrated Ms. Lang's effort to evaluate the facts and

possible claims from the 6       -   7 November 2012 incident. The City's refusals have

thwarted efforts to hold officers accountable for unconstitutional, violent, and humiliating

misconduct at the expense of Ms. Lang. The City's refusal has made it necessary to bring

suit against the City for violation of Ms. Lang's right of access to public and private data

concerning herself under Minn. Stat. $$ 13.04 subd. 3 and 13.08 subd.     1,2,   and   4 of the

Minnesota Government Data Practices Act.

      Ms. Lang demands damages in excess of seventy-five thousand dollars (>$75,000)

against the   City of Minneapolis, or such sum as the jury may allow, and all            other
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declaratory, equitable, and legal relief that the Minnesota Human Rights             Act   and

Minnesota Government Data Practices Act allow. She demands in excess of seventy-five

thousand dollars (>$75,000) against the individual defendant officers,   jointly or severally,

or such sum as the jury may allow, for general, compensatory damages. She demands in

excess   of seventy-five thousand dollars (>$75,000), or such sum as the jury may award,

in punitive damages against the individual defendants, jointly and severally, for violation

of her clearly established, constitutional rights to be free     unreasonable seizure and

infliction of excessive, unreasonable force. Ms. Lang demands trial by jury on all claims

triable to the jury.

SUBJECT MATTER JURISDICTION

l. Ms. Lang   states claims that implicate rights under U.S. Const. amend. I,   IV, and XIV.

2. 42 U.S.C. $ 1983 provides a remedy for violation of clearly established, federally

protected rights.

3. 28 U.S.C. $$ 1331 and Ba3@)@) vest jurisdiction in the United States District Court.

4. Ms. Lang states claims under the laws of the state of Minnesota.

5. 28 U.S.C. $ 1367 vests supplemental jurisdiction over her Minnesota law claims in the

United States District Court.

VENUE

6. The substantial number of events at the heart of this lawsuit occurred in Hennepin

County, Minnesota.

7. One or more Defendants, including the City of Minneapolis, are found in Hennepin

County, Minnesota.
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8. 28 U.S.C. $ 1291 lays venue in the United States District Court for the Judicial District

of Minnesota.

9. LR D. Minn. 83.11 lays venue in the Fourth Division, United States District Court for

the Judicial District of Minnesota.

PARTIES

10.   Ms. Carmon Lang is an adult individual.

I   l. Ms. Lang domiciles in Minneapolis, Hennepin County, Minnesota.

12.   Ms. Lang is an African-American woman.

13. The City of Minneapolis is a government entity and political subdivision of the state

of Minnesota under Minn. Stat. $ 13.02 subd. 7a of the Minnesota Government Data

Practices Act.

14. The City of Minneapolis is a public service of the state of Minnesota under Minn.

Stat. $ 3634.03 subd. 35 of the Minnesota Human Rights Act.

15. Defendant Officers 1     -   10 are adult individuals whose names and badse numbers

have yet to be determined.

16.   At all times relevant to this lawsuit. Defendant Officers       1   -   10 acted under color   of

law as licensed police officers in the employ of the City of Minneapolis.

17.   At all times relevant to this lawsuit, Defendant Officers   1   -   10 acted in the course and

scope   of their respective employments as licensed police officers in the employ of the

City of Minneapolis.

18. Plaintiff Carmon Lang sues Defendants          I-    10,   jointly and severally, in their

respective individual capacities.
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THE FACTS

 19. On the evening of Tuesday 6 November 2012, Plaintiff Carmon Lang celebrated the

reelection of President Barack Obama with relatives at the home of Deon Weslev. on the

2600 block of N. Logan Avenue in Minneapolis.

20. Ms. Lang celebrated with Mr. Raymond Griffin, nephew of Mr. wesley.

21. Plaintiff left his uncle's home with Mr. Griffin at approximately 0045 (12:45 a.m.),7

November 2012.

22. Plaintiff was a passenger in the vehicle that Mr. Griffin drove,         a   1996 Chevrolet

Tahoe, whose owner was one Marfy Brown.

23. Mr. Griffin took a right on Broadway, crossed Penn Avenue North, and                    one

Minneapolis Police Department squad car pulled him over.

24.Three additional marked squad cars and one unmarked gray truck arrived at the scene

of the seizure of Mr. Griffin, Ms. Lang, and the 1996 Tahoe.

25.    At the vicinity of the seizure of Plaintiff and Mr. Griffin, the following        video

recorders potentially recorded images of the seizure       of Plaintiff: one police   camera at

Logan and Broadway, one or more video recorders at the CVS Pharmacy nearby. and

dash cameras from each Minneapolis police squad car that arrived.

26. One police officer in uniform approached Plaintiff s vehicle.

27 .   The officer remarked to Plaintiff, in relation to her answer to his question as to where

she had been,    "Four more years of celebrating more bullshit."

28. One police officer physically grabbed the plaintiff.

29.The officer had his firearm drawn on Plaintiff.


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30. With no wanant for a search or the Plaintiffs arrest, no communicated reason for

searching the Plaintiff, and his firearm drawn, the officer coerced Plaintiff into grabbing

her brassiere from her outside garment, and shake the brassiere to show she had no illeeal

drugs hidden in her brassiere.

31. Plaintiff had no contraband, no illegal drugs, or unlawful controlled substances upon

her.

32. The coerced search revealed no contraband, illegal drugs, or unlawful controlled

substances.

33. Plaintiff demanded the officer's name and badge number.

34. The arrest threatened to arrest Plaintiff for demanding his name and badge number.

35. The officer then grabbed her right arm and handcuffed her.

36. As the officer grabbed and handcuffed her, Plaintiff heard a "popping sound" coming

from her right shoulder.

37. Plaintiff immediately felt great pain in her right shoulder, and immediately told the

officer that she thought the officer had dislocated her shoulder.

38. Plaintiff had left her purse in the Tahoe.

39. One squad car transported Plaintiff to the Minneapolis Police Department Fourth

Precinct Headquarters.

40. The police transported Plaintiff separately from Mr. Griffin.

41. The Defendant individual officers seized Plaintiff for approximately one hour at

Fourth Precinct Headquarters, where she was handcuffed her          to a chair and was
photographed by the officer who handcuffed her.
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 42.The officers did not charge Plaintiff with any offense.

 43. To this duy, Plaintiff has received no summons, citation, criminal complaint,

 information, or other document initiating a criminal prosecution for the events relating to

her warrantless arrest as a passenger in the 1996 Tahoe on 7 November 2012.

 44.The police released Mr. Griffin after a "seventy-two hour hold".

45. In the search incident to the arrest, police found cuffency determined to be counterfeit

currency on Mr. Griffin's person.

46. Ms. Lang had no counterfeit currency on her person, nor did she handle counterfeit

cunency, at any time relevant to this lawsuit.

47. Neither the state, nor Hennepin County, nor the City of Minneapolis has charged Mr.

Griffin with any offense arising from the 7 Novemb er 2012 warrantless arrest.

48. Plaintiff s sister Leslie Lang came to Fourth Precinct Headquarters to get plaintiff.

49. Plaintiff s sister took Plaintiff to North Memorial Hospital in Minneapolis right after

she took her out   of police custody.

50. Plaintiff had anX-ray of her right shoulder.

51. The shoulder remained painful and restricted Plaintiffs ability to move her shoulder

and right arm.

52. Plaintiff underwent an MRI ten days later.

53. The MRI revealed a right shoulder rotator cuff tear.

54. Plaintiff underwent surgery to repair the right shoulder rotator cuff tear after the MRI.

on 9 January 2013.
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 55. Plaintiff underwent a course of physical therapy and rehabilitation from the date      of
surgery through August 2013.

56. Plaintiff has recovered some of her right shoulder strength and range of motion that

she enjoyed before 7 November 2012.

57.   Plaintiff s right should causes pain to her when she cleans her house, washes hair, and

serves food and drinks.

58. These tasks did not cause pain to Plaintiff before 7 Novemb er 2012.

59. The greatest loss to Plaintiff is the inability to do other people's hair for income as a

self-employed hairdresser, as the direct result     of the warrantless, unlawful seizure   and

injury to her right shoulder by the Defendants.

61. On or about 4 December 2012, Plaintiff received by email a copy of the Incident

Detail Report for incident 12-347920 from the City of Minneapolis, after her request for

access to records   relating to the incident.

62. Plaintiff served a notice of claim on the City of Minneapolis on or about 8 February

2013, through her attorney.

62. On or about 8 February 2013, with assistance from counsel, Plaintiff served her

second request      for   aQcess   to public and private data relating to herself and the
circumstances of the 7 November 2012 incident, in accordance with Minn. Stat.
                                                                              $$ 13.04
subd. 3 and 13.03 subd. 3 of the Minnesota Government Data Practices Act.

63. The City of Minneapolis responded on or about 12 February 2013 with a four-page

police report for CCN MP-12-347920 that identified reporting officer Brandy Steberg,




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Badge 6767, assisting officer Christopher Tucker, Badge 7856, Squad 494, and

supervising officer Sergeant David Michael Robinson, Badge 6060.

64. On or about 18 February 2013, Plaintiff served a Notice of Claim on the Citv of

Minneapolis for her injuries on 7 November 2012.

65. On or about 10 June 2013, Plaintiff received acknowledgement of the Notice of

Claim.

66. On or about 20 June 2013, Plaintiff through counsel requests access to data, including

video and audio recordings of the incident taken by units at the scene, vi2.,494 (Officers

Brandy Steberg and Christopher Tucker), 955 (Officer Andrew Bittell), 924 (Officers

Oscar Macias and Ricardo Muro), 495 (Officer             Karl Sauskojus), 424 (Officers   Steve

Herron and Daniel McDonald), 430 (Officers Gretchen Bloss and Richard Walker), g27

(Officers Jeff Kading and Brandon Kitzerow), and 431 (Officers Lauren Peterson and

Bridget Reilly).

67 .   On or about 20 June 2013, in the same letter through counsel, Plaintiff demanded the

identity of the officer who seized her, his partner, and all Minneapolis Police Department

protocols relating to individual searches, the use of firearms, and the use of handcuffs

upon an individual at the time of a seizure of the individual.

68. On or about      2 July 2013, the City provided     a two page public document for Mp-

347920.

69. The    city failed to identiff the officer who seized plaintiff.

70. The City failed to identify the officer who placed handcuffs on the Plaintiff.




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 71. The City failed to identify the officer who transported Plaintiff to the Fourth precinct

 Headquarters.

 T2.Minneapolis Police Department Regulation 5-306, "Use of Force", requires a CApRS

report for incidents involving injuries involving handcuffs.

73. On or about 26 August 2013, through counsel, Plaintiff once again requested access

to the CAPRS report identi&ing the officer who handcuffed her.

74.To this date, eleven months since Plaintiff s first request for access to data, and more

than eight months since her first request for access to data with the assistance of her

attorney, Defendant City    of Minneapolis has failed to provide (a) video recording of
Plaintiff; (b) audio recordings of Plaintiff; (c) photographs of Plaintiff; (d) police records

identifying the individual officer who handcuffed and injured Plaintiff; and (e) with the

exception of the incident report and the public portion of CCN MP 12-347920, all private

and public data relating to the Plaintiff in the incident of 7 November 2012 at the heart   of
this lawsuit.

75. The actions of Defendant City of Minneapolis have inflicted compensatory damages

upon Plaintiff in excess of seventy-five thousand dollars (>$75,000).

76. The actions of the individual Defendants, jointly and severally, have inflicted

compensatory damages upon Plaintiff         in    excess   of   seventy-five thousand dollars

(>$75,ooo).




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 CLAIM        I: UNREASONABLE           SEIZURE (U.S. CONST. AMEND.              IV AND XIV,
 THROUGH 42 U.S.C. g 1eS3)

 TT.Plaintiff realleges and reasserts each and every claim and averment above.

 78. On 7 November 2012, at or near 0045 (12:45 a.m.), in Minneapolis, Minnesota,

 Defendants 1 - 10, jointly and severally, in their individual capacities, under color of law

 as law enforcement officers, violated      Plaintiff s clearly established right to be free from

unreasonable seizure     of her person, without warrant, without consent, and without any

other lawfully recognized exception to the constitution requirement for a warrant, under

the Fourth and Fourteenth Amendments to the United States Constitution, protected

through 42 U.S.C. $ 1983 in their warrantless arrest of Plaintiff while a passenger in the

vehicle driven by Mr. Griffin, and without any articulable suspicion of unlawful conduct

on Plaintiff s part, prior to, or during the seizure of the vehicle,, the plaintiff, and Mr.

Griffin.

79. Defendants     I - 10, jointly and severally, seized Plaintiff s person with intentional,
reckless, or conscious disregard of her rights to be free from unreasonable. warrantless

search ofher person.

80. Individual Defendants    I-   10,   jointly and severally, inflicted damages upon plaintiff

in   excess   of seventy-five thousand dollars (>$75,000), or such sum as the jury         may

award.

CLAIM II: UNREASONABLE SEARCH (U.S. coNST. AMEND. IV AND XIV,

THROUGH 42 U.S.C. g 1933)

81. Plaintiff realleges and reasserts each and every claim and averment above.
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82. On 7 November 2012, at or near 0045 (12:45 a.m.), in Minneapolis, Minnesota,

Defendants 1 - 10, jointly and severally, in their individual capacities, under color of law

as law enforcement officers, violated       Plaintiff s clearly established right to be free from

unreasonable search     of her person, without warrant, without consent, and without         any

other lawfully recognized exception to the constitution requirement for a warrant, under

the Fourth and Fourteenth Amendments to the United States Constitution, protected

through 42 U.S.C. $ 1983 in their warrantless search of Plaintiff s person, particularly in

coercing her    to pull her brassiere while grasping her over-garments and shake her

brassiere   to show she was not carrying unlawful controlled substances or contraband,

while a passenger in the vehicle driven by Mr. Griffin, and without any articulable

suspicion of unlawful conduct on Plaintiff s part, prior to, or during the seizure of the

vehicle,, the Plaintiff, and Mr. Griffin.

83. Defendants'   joint and several     search of Plaintiffls person was not reasonable under

clearly established existing law on account of the lack of a search warrant, the lack of

consent, the lack of exigent circumstances, the lack of probable cause to search Plaintiffls

person incident to the stop of the motor vehicle driven by Mr. Griffin, and the lack of any

other exception under the law to search Plaintiff s person.

84. Defendants    I - 10, jointly   and severally, searched Plaintiff s person with intentional,

reckless, or conscious disregard of her rights to be free from unreasonable, warrantless

search ofher person.




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 85. Individual Defendants    I-    10,   jointly and severally, inflicted damages upon Plaintiff

 in   excess   of seventy-five thousand dollars (>$75,000), or such sum as the jury             may

award.

CLAIM         III:   INFLICTION OF EXCESSIVE, UNREASONABLE FORCE                              (U.S.

coNST. AMEND.           MND       XIV' THROUGH             42 U.S.C. S 19S3)

86. Plaintiff realleges and reasserts each and every claim and averment above.

87. Defendants 1 - 10, jointly and severally, in their respective individual capacities

under color      of law as Minneapolis police officers, injured Plaintiffs right          shoulder

rotator cuff in the course of seizing her and then handcuffing her.

88. Defendants' use of force that cause the injury to Plaintiffls right shoulder rotator        cuff
comprised unreasonable, excessive infliction            of force under clearly established existing
law because Plaintiff did not resist the Defendants, and because the Defendants' initial

application     of force to the Plaintiffs      person lacked lawful authority under clearly

established existing law.

89. Defendants 1 - 10,   jointly and severally, inflicted excessive, unreasonable force upon

Plaintiffs person with intentional, reckless, or conscious disregard of her clearly

established rights to be free from infliction          of excessive, unreasonable, force upon   her

person.

90. Individual Defendants    I-    10,   jointly and severally, inflicted damages upon plaintiff

in   excess   of seventy-five thousand dollars (>$75,000), or such sum as the jury            may

award.




                                                 III
